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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

LOOP SPINE & SPORTS CENTER, LTD.,                     )
                                                      )
               Plaintiff,                             )
                                                      )
               v.                                     )       20 C 2590
                                                      )
LIFESTYLE NUTRITION, INC.,                            )
CHRISTOPHER FUZY,                                     )
and JOHN DOES 1-10,                                   )
                                                      )
               Defendants.                            )

                                  NOTICE OF SETTLEMENT

       Plaintiff Loop Spine & Sports Center, Ltd. respectfully informs the Court that the parties

have reached an individual settlement in this matter. Plaintiff anticipates filing a notice of

dismissal by December 14, 2020.


                                              Respectfully submitted,

                                              s/ Heather Kolbus
                                              Heather Kolbus

Daniel A. Edelman
Heather Kolbus
EDELMAN, COMBS, LATTURNER & GOODWIN, LLC
20 S. Clark Street, Suite 1500
Chicago, IL 60603
(312) 739-4200
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     Case: 1:20-cv-02590 Document #: 13 Filed: 09/18/20 Page 2 of 2 PageID #:59




                               CERTIFICATE OF SERVICE

       I, Heather Kolbus, hereby certify that on September 18, 2020, I caused a true and
accurate copy of the foregoing document to be filed with the Court’s CM/ECF system, and to be
served via U.S. Mail upon the following:

       Lifestyle Nutrition Inc.
       c/o Christopher Fuzy, Registered Agent
       1741 Coral Gardens Drive
       Wilton Manors, FL 33334

       Christopher Fuzy
       1741 Coral Gardens Drive
       Wilton Manors, FL 33334

                                           s/ Heather Kolbus
                                           Heather Kolbus

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